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                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


IN RE:                                                         CASE NO. 08 B 15695
                                                               CHAPTER 13
Eric French
                                                               JUDGE PAMELA S. HOLLIS

         DEBTOR                                                NOTICE OF FINAL CURE PAYMENT


Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Marilyn O Marshall
files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed below
has been paid in full.

Name of Creditor: American Home Mortgage Servicing




Final Cure Amount

Court   Account                                   Claim               Claim               Amount
Claim # Number                                    Asserted            Allowed             Paid

   3      XXXXXXXXears                            $32,120.78          $32,120.89          $32,120.89

Total Amount Paid by Trustee                                                              $32,120.89


Monthly Ongoing Mortgage Payment

Mortgage is Paid:

    Through the Chapter 13 Conduit                     X Direct by the Debtor


Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the Chapter
13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor has paid
in full the amount required to cure the default on the claim; and 2) whether the Debtor is otherwise current
on all payments consistent with 11 U.S.C. § 1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.
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                                                                                  CASE NO. 08 B 15695


                                    CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the parties
listed below by ordinary U.S. Mail or served electronically through the Court ’s ECF System at the e-mail
address registered with the Court on this 30th day of August, 2013.


Eric French, P O Box 53458, Chicago, IL 60653


ELECTRONIC SERVICE - Veronica D Joyner, 120 S State St Ste 200, Chicago, IL 60603


American Home Mortgage Servicing, Attn Cash Processing, 1525 S Beltline Rd, Coppell, TX 75019


ELECTRONIC SERVICE - United States Trustee


Date: August 30, 2013                                         /s/ Marilyn O Marshall
                                                              Marilyn O Marshall
                                                              Chapter 13 Trustee
                                                              224 S Michigan Ave
                                                              Ste 800
                                                              Chicago, IL 60604
